                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                    3:98cr7-9

UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        )                    ORDER
                                                 )
WILLIAM PATRICK MILLER (9)                       )
                                                 )


       THIS MATTER IS BEFORE THE COURT ON the Motion to Modify Defendant’s Term
of Supervised Release [doc. 563]. It appears to the Court that a response was due by January 28,
2013, and that no such response has been made. IT IS, THEREFORE, ORDERED that the
government file a response by February 20, 2013.

       IT IS SO ORDERED.

                                           Signed: February 6, 2013




      Case 3:98-cr-00007-GCM          Document 564           Filed 02/06/13   Page 1 of 1
